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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JAMIE HUBER,                                         :
                                                      :
                        Plaintiff,                    :
                                                      : Civil Action No. 2:20-cv-04607-PBT
         v.                                           :
                                                      :
 EXPERIAN INFORMATION SOLUTIONS,                      : JURY TRIAL DEMANDED
 INC.; ARS ACCOUNT RESOLUTION                         :
 SERVICES,                                            :
                                                      :
                        Defendants.                   :

  DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC’S D/B/A ARS
   ACCOUNT RESOLUTION SERVICES’S ANSWER TO PLAINTIFF’S AMENDED
      COMPLAINT, AFFIRMATIVE DEFENSES AND DEMAND FOR JURY

       Answering Defendant, Healthcare Revenue Recovery Group, LLC d/b/a ARS Account

Resolution Services (“Answering Defendant”), by and through its undersigned counsel, answers

Plaintiff Jamie Huber’s (“Plaintiff”) Amended Complaint (“Amended Complaint”) (Doc. 10) and

states as follows:


                                PRELIMINARY STATEMENT

       1.      Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

                                 JURISDICTION AND VENUE

       2.      Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

       3.      Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.
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                                             PARTIES

       4.       Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same. The remaining allegations in this paragraph, if any, are

denied as they call for a legal conclusion to which no response is required.

       5.       Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       6.       Admitted in part; denied in part. Answering Defendant admits that it has an address

at 1643 NW 136th Avenue, Building H, Suite 100, Sunrise, Florida 33323. Answering Defendant

admits, under certain circumstances, it may fall under the definition of “debt collector” as that term

is defined by 15 U.S.C. § 1692a(6) and/or it may fall under the definition of “furnisher” under 15

U.S.C. § 1681s-2; 12 C.F.R. § 1022.41.          However, Answering Defendant lacks sufficient

knowledge to admit or deny the allegation that it is a “debt collector” or engaged in collecting

“debts” in the present case, and further states that this allegation calls for a legal conclusion

regarding the definition of the cited statute. Therefore, Answering Defendant denies the same and

demands strict proof thereof. The remaining allegations in this paragraph, if any, are denied as

they call for a legal conclusion to which no response is required.

                                         BACKGROUND

       7.       Denied. Answering Defendant is without knowledge or information sufficient to



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form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, as it is not a credit reporting entity, and therefore denies the same.

       8.      Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

       9.      Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

       10.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, as it is not a credit reporting entity, and therefore denies the same.

       11.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       12.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       13.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

                                   FACTUAL STATEMENT

       14.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       15.     Denied.



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       16.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       17.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       18.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       19.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       20.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       21.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same.

       22.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended

Complaint, and therefore denies the same

       23.     Denied. Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended



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Complaint, and therefore denies the same.

       24.      Denied.

       25.      Answering Defendant is without knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in this paragraph of Plaintiff’s Amended Complaint,

and therefore denies the same. .

                                    COUNT I
                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                 BY EXPERIAN

       26.      Answering Defendant repeats its responses to the allegations contained in

Paragraphs 1 through 25 above and incorporates them as if specifically set forth at length herein.

       27.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       28.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       29.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to



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form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       30.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       31.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

       32.      Denied. This paragraph is not directed to Answering Defendant. To the extent that

a response is required, Answering Defendant is without knowledge or information sufficient to

form a belief as to the truth of the allegations, if any, contained in this paragraph of Plaintiff’s

Amended Complaint, and therefore denies the same. By way of further response, the allegations

in this paragraph, if any, are denied as they call for a legal conclusion to which no response is

required.

                                   COUNT II
                  VIOLATION OF THE FAIR CREDIT REPORTING ACT


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                                             BY ARS

       33.     Answering Defendant repeats its responses to the allegations contained in

Paragraphs 1 through 32 above and incorporates them as if specifically set forth at length herein.

       34.     Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

       35.     Denied.

       36.     Denied.

       37.     Denied.

       38.     Denied.

       39.     Denied.

       40.     Denied.

       41.     Denied.

                                   COUNT III
         VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                    BY ARS
       42.  Answering Defendant repeats its responses to the allegations contained in

Paragraphs 1 through 41 above and incorporates them as if specifically set forth at length herein.

       43.     Denied. .

       44.     Denied. The allegations in this paragraph, if any, are denied as they call for a legal

conclusion to which no response is required.

                                    JURY TRIAL DEMAND

         45.   Admitted.

         WHEREFORE, Answering Defendant requests that this Court dismiss Plaintiff’s

Amended Complaint in its entirety with prejudice, and award Answering Defendant its reasonable

attorney’s fees and costs incurred in defending this action. Answering Defendant further requests


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that this Court deny any other requested damages, fees, costs, other legal and equitable relief, and

award such other relief as the Court deems just and equitable.

                                        JURY DEMAND

       Answering Defendant demands a jury pursuant to Fed. R. Civ. P. 38 for all issues so triable.

                                 AFFIRMATIVE DEFENSES

       1.      Plaintiff has failed to state a claim upon which relief can be granted.

       2.      Plaintiff’s claims may be barred by the statute of limitations.

       3.      Any violation of law by Answering Defendant, which is specifically denied, was

not intentional and resulted from a bona fide error notwithstanding the maintenance of procedures

reasonably adapted to avoid any such error.

       4.      Plaintiff failed to mitigate any damages which Plaintiff may have suffered.

       5.      Plaintiff has suffered no compensable damages.

       6.      Plaintiff has suffered no ascertainable loss of money or property.

       7.      Defendant affirmatively alleges that Plaintiff’s claims are barred by a lack of

standing under Article III of the U.S. Constitution. See Spokeo Inc. v. Robins, 136 S. Ct. 1540,

1544-50 (2016).

       8.      Any claims for punitive damages if permitted would constitute an excessive fine or

penalty without the substantive or procedural safeguards guaranteed by the Fifth and Fourteenth

Amendments to the United States Constitution.

       9.      Answering Defendant respectfully reserves the right to assert any additional

affirmative defenses that may be revealed during the course of discovery.




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                                   Respectfully Submitted:


                                   KAUFMAN DOLOWICH & VOLUCK, LLP

                             By:   /s/ Richard J. Perr
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                                   Recovery Group, LLC d/b/a ARS Account
                                   Resolution Services
Dated: December 14, 2021




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                              CERTIFICATE OF SERVICE

        I, RICHARD J. PERR, ESQUIRE, hereby certify that on this date I served a true and
correct copy of the foregoing electronically via the Court’s CM/ECF system on the following:

                                  Nicholas Linker, Esquire
                                     Zemel Law LLC
                                      660 Broadway
                                    Paterson, NJ 07514
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                                   nl@zemellawllc.com

                                   Attorneys for Plaintiff

                                          /s/ Richard J. Perr
                                          RICHARD J. PERR, ESQUIRE

Dated: December 14, 2021
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